CaS€ 8-18-72817-&8'[ DOC 15 Filed 07/20/18 Entered 07/20/18 10243:58

IN THE UNITED STATES BANKRUPTCY COURT
EASTERN DlSTRICT OF NEW YORK

 

In re: Case No. 8~18-728]7-ast
Gabriele Lehr

 

Chapter 7

Debtor(s).
x

 

AFFIDAWT PURSUANT T0 merit _RU.LF. 1009.1(@)

Gabrlele Lehr , undersigned debtor herein, swears as follows:

 

l, Debtor filed a petition under chapterL of the Bankruptcy Code on _,__.

2 Filed herewith is an amendment to §chedule A, Schedule C. Sel'iedu!_i_a__t1 F_r_:g[_ng _1 _D_'_!, and Form _‘_t_;_g_t_§i previously filed
herein.

3. Annexed hereto is a listing setting forth the specific additions or corrections to, or deletions from, the affected
list(s), schedule(s) or statement(s). The nature of the change (addition, deletion or correction) is indicated for each
creditor or item listed:

Schedule A - added post filing bank account at #]7

Schedule C - added exemption for post filing bank account added to Schedule A
Schedule I- Amended income to reflect new 1099 employment income

Forni 107 - changed amount of income year to date at Part 2, #4

Form 122A-I - changed income to reflect new employment

4. [{;"credttr)r records have been added] An amended mailing matrix is annexed hereto, listing added creditors
ONI.Y, in the l`ormal prescribed by Local Rule lO[l?-Z(b)(i).

Dated: g__.lulg,g 2, 2013_

/sl Gabrie|e Lehr
Gabrlele Lehr

Debtor (sr'gnature)

~ "d QLTU`¢H 52 /(L LL/
Sworn l before me this (,/ -»
day of , x \-
H_}/

NOiarYPnenm're/of New Yori<\ _`

 

 
   

Reminder: No amendment of schedules is effective until proof of service in accordance with EDNY LBR 1009-I(b) has

been filed with the Court.
DlDlER IRABIZI
NOTARY PUBLIC,STATE OF NEW YURK
NO. 0111\.63'14844
Qualified in Sl.l'l'lulk County
Term expires M¢y 7, 2022
R@v. 1114/04

USBCSS .
Sr»l'lw.-irr‘ t'.¢.ipyrigh! (c) 1996-2018 Besl Case, LLC - vwwv beslcase com Best C:\se Bankrup|ey

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If this amendment is filed prior to the expiration of the time period set forth in Fed. R. Bankr. P. 4004 and 4007., it will be
deemed to constitute a motion for a 30-day extension of the time within which any added creditors may file a complaint to
object to the discharge ofthe debtor and/or to determine dischargeability This motion will be deemed granted Withcut a
hearing if no objection is filed with the Conrt and served on debtor within 10 days following filing of proof of service of
this affidavit, all attachments and the amended schedules in accordance with F,DNY LRB 1009-1.

LlSBr` f" Rev.1i14I04
...'.'l.' el
&:vrtware ti-)pyright ¢c) 1996?018 Best Case. LLC - ww~.bcstcase com Best Case Bankrup cy

 

 

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Flll in this intermation to identity your case and this fiting:

 

 

 

D€btor 1 Gabrtele Lehr
First blame M'lddln Horl\c l,nsl. Hame
Debtor 2
; (Spouse, it llllng) Flrst Name Mldcl|e Name Last Name m___ _

|
l
Unlted States Bankruptcy Court for the: EASTERN DlSTRlCT OF NEWYORK

 

Case number El Check ltthis is an

i
l
_.. . _ g amended filing

 

 

Officia| Form 106A/B
Schedule AlB: Property ms

 

ln each category. separately t|stand describe ltcma. Llst an asset only once. lt an asset tlts ln more than one cntegory, l|st the asset ln the category where you
than lt fits best Be as compute and accurate as possible. lt two married people are filing together, both are equally responslble for supplying correct
lnformatlon. lt more space ls needed. attach a separate sheet to this torm. On the top ot any addlt|onal pages, write your name and case number (lt known).
Answer every quostlon.

m Descrlbe Each Res|dence, Bulldlng, Land, or Other Real Estate You Own or Have an interest ln

 

1_ Do you own or have any legal or equ|tab|e lnterest ln any residence, bulldlng. lano. or slmllar property?

n No. Goto Part 2.
- Yes. Where isthe property?

1.1 What ls the propertw chem all mar apply
20 Kennedy Drive

 

 

 

 

 

__ __.__ _ ._. ____.__ __ ___ - Sll"gle‘iamny hom° Do nol deduct secured claims or exemptions Pul
Street address itavaiiable, or orner description - -l - . the amount ol any secured claims on Schedule D.'
g Dup‘ex or muh,-um wude Cn,>dllors Who Hm/e C{aims Seouled by Pmperty,
Condomlntum or cooperal o
l:l
l ct ed blla h me v
m Manu a m or mo 0 Current value ottne current value of the
SOutham ptorl NY 11968-0000 |:l Land entire property? portlon you own?
worry __ State ZlP Code l:l lnvestmenl property $700,000.00 $?DO`UUO.'UO
m Timesham Descrlbe the nature ot your ownership interest
n Olh°' . _ (such as fee slmple, tenancy by the entiret|es, or
Who has an interest ln the property? Check one a me es"“e)r 'f k"°Wn-
l oebiori amy fee $lmPl?
Suffolk Cl oebtor 2 only
C°umy m DGM°M and D(’m°' 2 only Check lt this ts communlty property
m Al least one of lho debtors and another (see lnsrrucrlon_=.)

Other information you wish to odd about this ltem, such as local
property ldentlf|catlon number:

 

2. Add the dollar value of the portion you own for all ot your entries from Part 1, including any entries for
pages you have attached for Part 1. Write that number here ................ . ............. =>

m Descr|be Your Vehlcle_s

00 you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? lnclude any vehicles you own that
someone else drives. lt you lease a vehicle, also report it on Schedule G: Exr,-cntory Cor)tracts and Ur)exp.'red l,eases

 

$700,000.00

Olficia| Form lOGA/B n Schedule A/B: Property page 1

Softwara Cop-/nght tel 1996»20‘.8 Best Case, LLC » www bastcasa corn Besl Case Bar.k'uptcy

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Deb\°r 1 Gab"lele Lehr Case number (tfknown)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

 

l:l No
l Yes
3,1 Mal<e; Mercedes Benz who has an interest ln the propeny? cheek one D“ "°' d”d“°' seemed “1“‘“'5 °" ‘°“'"‘P“°““'~ P“‘
SLK 2?0__-_-. '_ the amount 01 any secured claims on Schedule D'
Model; h _ - Deblo, 1 only Credr'lors Whu Have Ciaims Securod by Ploperly.
Year: 2004
___'__ _ m Debl°' 2 O"'i' Current value of the Current value or the
Approxlmeto mileage 57000 n Debtor 1 and Deblor 2 only €n“'€ PV°PE'W? P°m°n you 0WT17
Oihor iniormalion: l n At least one al the debtors and another
n Check lt this is community property $7-200-00 $7.200-00
(seu instructions) _'* ' _'__ _‘_' __'~_T

 

 

4. Watercraft, alrcraft, motor homes. ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boatsl trailersl motors, personal Watercrait, fishing vessels, snowmobiles, motorcycle accessories

' No
l:] Yes

5 Add the dollar value of the portion you own for ali ofyour entries from Part 2. including any entries tor

.pages you have attached for Part 2. Write that number here....... ....=> $7)290‘05

 

Descrlbe Vour Persona| and Household items
Do you own or have any legal or equitable interest in any of the following items? Cunent value ol tim
portion you own?
Do not deduct secured
claims or exemptions

 

6. Househo|d goods and furnishings
Exemples: Major appliances, fumlture, |inens, china, kitchenware

l:i No
. Yes. Describe .....

 

l_bedroom, dining room, and living room set l §1,000.00

 

7 E|ectronics
Examples.' Te|evis|ons and radios; audio, vldeo, stereo, and digital equipment computers, printersl scanners; music collections; electronic devices

including cell phones, cameras. media players, games
l No
|:l Yes. Desoribe .....

B, Co|lec:libles of value
E)rampies.'Antiques and tigurines; paintingsl prints, or other ertwork; books, pictures, or other art objects; stamp, coinl or baseball card ooilect|ons;

olher cullectlone, memorabi|ial collectibles
l No
l:i Yes. Descr|be .....

9. Equiprnent for sports and hobbles
Exmnplos.' Sports.4 r.'lht‘.»ti:»grar:lhic1 exercise, and other hobby equipment bicycles, pool tables, go|fciuios. skis; canoes and kayai<s; carpentry too|s‘,

musical instruments
. No
l:l Yes. Describe .....
10 Firearrns
Examp/es.' Pistols, rilies, shotguns, ammunitionl and related equipment
l No
l:] Yes. Descrlbe .....

Oliicial Form 106A/B Schedule A!B: Property page 2

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Debtor 1 Gabri_e_|e_Le|-ir Case number (ilknown)

11. C|othes
Examples: Everyday oiothes, furs, leather coats, designer wear, shoes, accessories

[:| No
- Yes. Describe .....

I`croihin_cj _ _

5500.00_

 

12. Jewelry
Exempfes.' Everyday jewelry, costume jewelry, engagement rings, wedding rlngs, heir|oom ]ewelry, watches gems. gold, silver
- No

l:] Yes. Describe.....

13. Non-farm animals
Exampfes.' Dogs, cats, birds, horses

- No
El ‘(es. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
- No
l:i ‘(es. Give specitic information .....

   

15. Add the dollar value of ali of your entries from Part 3, including any entries for pages you have attached
for Part 3. write that number here __ $1»500-°0

Describe Your Financ|al Assets
D`o you own or have any legal or eq u`rtri Lr!e interest indany of the loiiowing? Current value ofthe
portion you own?
Do not deduct secured
claims or exemptions

16. Cash
Exampfes.' Money you have in your waliet, in your home, in a safe deposit box, and on hand when you file your petition

ij No
- Yes .......................................................

Cash _ 5200,_91

17. Deposlts of money
Exarnpi‘es.' Chec!<ing, savingsl or other financial aocounts; certificates of deposli; shares in credit unions, brokerage houses, and other similar

institutions if you have multiple accounts with the same institution, list each.

E No
l Yes .......................

institut|o n na me:

17.1. Checking Capitai0ne_i_3ank_)_t_)_<_x)t)_t_xxx6581__ $1,333.26

 

 

18. Bonds, mutual funds, or publicly traded stocks
Exampies.' Bond funds, investment accounts with brokerage firmsl money market accounts

.No

ij Yes. . institution or issuer name:

19_ Non-pubiiciy traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture
l No

[:l Yes. Give specific information about them_.. .. . __ ,
Name ofentity % oiownership;

20 Government and corporate bonds and other negotiable and non-negotiable instruments
Negon`at:ie instruments include personal chec|rs. cashier.s' checksl promissory notes, and money orders
Ivon-nogoriahin instruments are those you cannot transfer to someone by signing or delivering them

. No
Offlcial Form iOGA/B Schedule A/B; Property page 3

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Debt°' 1 Gabl'ie|e Lehr Case number {/rimown)

 

l:i Yes. Give specific information about them
issuer name:

21. Retirement or pension accounts
Examples.' interests in iRA, ERiSA, Keogh, 401 (k), 403(b), thrift savings accounts. or other pension or profit-sharing plans

.No

E| Yes. Llst each account separately
Type of account institution name:

22. Security deposits and prepayments
Your share ofai| unused deposits you have made so that you may continue service or use from a company
Exampfes:Agreements with iandiords, prepaid rent, public utilities (eiectricl gas, water), telecommunications companies, or others

- No
i:i Yes. institution name or individuai:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
l No
[] Yes ,,,,,,,,,,,,, issuer name and description

24. interests in an education lRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 u.s.c. §§ eao(b)(i)_ 529A(b), and sza(b)u).

.No

[] Yeg_,,__,_,,___, institution name and description Separateiy file the records ofany interests.11 U.S.C. § 521(¢)!

25. Trusts, equitable or future interests in property (other than anything listed in line 1). and rights or powers exercisable for your benefit
l No
El Yes. Give specific information about them...

26_ Patents. copyrights, trademarks, trade secrets, and other intellectual property
E)rarnpfes.' lnternet domain names, websites, proceeds from royalties and licensing agreements

l No
[:i Yes. Give specific information about them...

27. Licenses, franchises. and other general intangibles
Examples,' 3uild|ng permits, exclusive |icenses, cooperative association hoidings, liquor iicenses, professional licenses

- No

ij Y'es. Give specihc information about themt_.

Current value of the
portion you own?

Do not deduct secured
claims or exemptions

Money or property owed to you?

28. Tax refunds owed to you
l No
[:l Yes. Give specific information about them, including whether you already filed the returns and the tax years..

29. Famiiy support
Exempi’es.' Past due or lump sum alimony, spousal support, child support, maintenance, divorce settiement, property settlement

l No
i:] Yes. Give specific information . ..

30. Other amounts someone owes you _
Exompfes: Unpa|d wages disabilin insurance paymentsl disability benefitsl sick pay, vacation pay. workersl compensation Sociai Security

benefits unpaid loans you made to someone else
- No
l:l Yes. Give specific information

31. interests in insurance policies
Exampfe$.' Hea|th, disat)‘ii|ly, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
. No
[i Yes. Name the insurance company of each policy and list its value
Company name:
Ofiicia| Form 106A/B Schedule A/B; Property page 4
Best Case Fiani<i\iptcy

Benenclary'. Surrender or refund

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Debtorf Gabrie|e Lehr 'Case number (rfknown)

 

value.'

32. Any interest in property that is due you from someone who has died
if you are the beneficiary of a living trust, expect proceeds from a lite insurance policy, or are currently entitled to receive property because
someone has died.

- No
l:l Yes. Give specific information..

33. C|aims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples:Aocidents, employment disputes. insurance ciaims, or rights to sue

l No
U Yes. Describe each claim .........
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
. No
l:l Yes. Desoribe each ciaim...,.....
35. Any financial assets you did not already list
- No
l:i Yes. Give specific informationA

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here $1.533.§6_

 

 

m Descrlbe Any Business-Related Froperty You Own or Have an interest ln. Llst any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property
l No. Go to Part 6.
n ¥os. Go fo line 38.

Fnr_t 6; Desi:rlbe Any Farm- and Cominerclal F|shlng-Related Property You Own or Heve ari interest ln.
- ' if you own oi have nn interest in farmiand, list it iri Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
. No. Go lo Part 7.
l:l Yes. co to line 47.

Descrlbe Atl Property ¥ou 0wn or Have an interest fn That Yo_u D|d Not Llst Ab_ove _ _

53. Do you have other property of any kind you did not already list?
Exampfos: Season tickets, country club membership

-No

[l res. Give specific information .........

 

54. Add the dollar value of ali of your entries from Part 7. Write that number here . ....... $0_00

Ofi'iclai Form fO€A/B Schedule A/B; Property page 5

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Deblor 1 Gabr|e|e Lehr Case number (Ifknowrl)

 

Llst the To\als 01 Each Part of \h|s Form

 

 

55. Part 1: Total real estate. llne 2 _ S?£|Q,OOG.{_)Q
56. Part 2: Tota| vehicles, line 5
57. Part 3: Total personal and household ltems, line 16

_ s7,2oo.oo

$1,500.00

58. Part 4: Total financial assets, line 36 $1 5_3_3_,2__6__

59. Part 6: Total business-related propeny, line 45 $0,00

60. Part 6: Total farm- and fishing-related property, line 62 §0,00

61 . Part 7: Total other property not llsted. llna 54 + $0.00

62. Total personal properly. Add lines 56 through 61 $19,233._26_ COPy personal properly total $10.233.26
63. Total of all property on Schedule A/B. Add~llne 55 + |lne 62 $710,233.26 1
Olflcla| Form 106A/B Schedule AlB: Property page 6

Basl Case Ba.~k.'upccy
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Fill in this information to identity your case:

 

 

 

Debtor1 `_§abrie|e Lehr
first Name Midltlti' Name Lasl Name
. Debtor 2
l (Spouso rf. iiiing) Fust Name Middle Name Lasr Name

§United States Bankruptcy Court for the: EASTERN DlSTRiCT OF NEW YORK

 

Case number
(li kwm) l`_'i Check ii this is an
amended liiing

 

 

Officia| Form 106C

Schedule C: The Property You Clai’m as Exempt 4116

 

Be as complete and accurate as possible if two married people are filing together, both are equally responsible for supplying correct information Using
the property you listed on Schedule A/B: Property (Omc|al Form 106A/B) as your source, list the property that you claim as exempt lf more space is
needed, fill out and attach to this page as many copies of Part 2.'Addltlonal Page as necessary. On the top ofany additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount ot the exemption you ciaim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value ot the property being exempted up to the amount ol
any applicable statutory limlt. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax»exempt retirement
funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amountl your exemption would be limited
to the applicable statutory amount.

1. Which set of exemptions are you claiming? Check one oniy. even ifyourspouse is Iiiing with you.
- You are claiming slate and federal nonbankruptcy exemptions 11 U.S,C. §522(|:))(5)
ij You are claiming federal exemptions. 11 u.s.c. § 522(b)(2)
2. For any property you list on Schedule A/B that you claim as exempt. fill in the information below.

 

 

 

Brief description ol' the property and line on Current value ot the Amount ofthe exemption you claim Speclt'lc laws that allow exemption
Schedule A/B that lists this property portion you own

Copy the value from Check' only one box for each exemption

ScheduleA/B
2004 Mercedes Benz SLK 230 57000 $7‘200_00 - $7,200_00 Debtor & Creditor Law §
miles - _--~- -- 4 _ _- -_--- 283(1)
Llne from Schedule A/B: 3.‘1 m 100% affair market valuel up to

any applicable statutory limit

bedroom, dining room, and living $1’000_00 l $11000_00 NYCPLR § 5205(a)(5)
room set
Llne from Schedule A/B: 6,1 g 100% affair market valuel up to

any applicable statutory limit

 

 

Llne from Schedule A/E: 11.1 - ' -_-~ --_----4-
L`-| 100% or rair market value up lo
any applicable statutory limit

Cash $200_00 ' 3200_00 N\'CPLR § 5205(3)(9)
Llne from Schedule A/B: 16.1 _ '_ _ .

any applicable statutory limit

Checi<ing: Capital One Bank $1'333_26 - $1_33_3_25

Debtor & Creditor Law §
xxxxxxxx658't _ ---- ' -_-- _ 283(1)
Line from Schedule A/B: 17.1 m 100% of fair market valuel up to
any applicable statutory limit
Olficial Form 1060 Schedule C: The Property You Claim as Exempt page 1 of2

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D€leM Gabl'ieie Lehr Caso number (ii known) __ __
3. Are you claiming a homestead exemption of more than $160,376?

(Subject to adjustment on 4/01/19 and every 3 years atterthat for cases filed on or alter the date of adlustment.)
l No

Ei Yes. Dld you acquire the property covered by the exemption within 1,215 days before you filed this case?

ij No
ij Yea
Offlclai Form 1060 Schedule C: The Property ¥ou Clalm as Exempt page 2 oi2

East Case Benkm
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Fill in misinformation to rdeniif

 

Debtor 1 Gabrleie Lehr

Debtor 2
(Spouse, il |i|ing)

Un|ted Staies Bankruptcy Court forthe: EASTERN DlSTRlCT OF NEW YORK __

 

Case number __ _ ________ ___ Check ifthisis:
(lrkncwn)

l An amended ming
_ _ ..__ .. |:i A supplement showing postpetition chapter

13 income as of the following date:
Q_ffl_C_l@_iB>£@iQ@ iin/'b'orw_w
Schedule |: Your income 12/15

Be as complete and accurate as possibie. iitwo married people are iiiing together (Debtor1 and Debtor 2), both are equally responsible ror
supplying correct inforrnation. lt you are married and not tilingjointly, and your spouse is living with you, include information about your
spouse. ii you are separated and your spouse is not filing with youl do not include information about your spouse. if more space is needed,
attach a separate sheet to this form. 0n the top of any additional pages, write your name and case number (if known). Answer every question.

_L$.cn'be Emplovment
i. Fili in your employment

 

 

 

i“f°'mati°n- D§h'?r 1 Debtor 2 or non-iiiin_g__s_po_u_s__e __
giilao:h;a§§p;`:;t::geosv?ri]iob" EmPl°yment status l Emp|°yed ' n Emp|oyed

information about additional n N°f employed n NOT employed

employers OCCuPation Book Keeper

 

include part-ilme, seasonai, or _ __
self-employed wori<. Emp|°¥er 5 name All Terraln
Occupation may include student Ernp|oyer's address 41 Wi"°w Road
or homemaker, ifit applies Wate__ M"__ N¥_ _____9_§7

How long employed there? _PQ§_{__F_i_|_i_ng____ __ _

m§iv€_D¢f_€l."ii\b£\!fm_"lh'y__ih°°"le _____ _ _______. _ _ ___

Estimate monthly income as ofthe date you file this form. if you have nothing to report for any ilne, write $0 in the space. include your non-filing
spouse unless you are separated.

lf you or your non-iii|ng spouse have more than one employerl combine the information for ali employers for that person on the lines beiow. |fyou need
more space, attach a separate sheet to this form.

For Debtor 1 For Deblor 2 or
'wn-_iiilog vne\_'§e_,_

Lisl monlhiy gross wages, salary, and commissions (beiore all payroll

 

2- deductions). ii not paid monthly, calculate what the monthly wage would be. 2- 5 _ ____ __ ___0~0_0 5 _ NlA
3. Estimaie and list monthly overtime pay. 3 +$ __ __ 0.00 +$ __ _ NIA

___ _-- _______ _,_ _ ._ .__.,_
4. Ca|cu|ate gross income. Add line 2 + line 3. 4. {$ _ __ __ __(_)__Ol_] i $ ____Nl\__ 1_

Oii`lc-iai Form lO()T Schedule I: Your lncoml: page i

 

 

CaS€ 8-18-72817-&8'[ DOC 15 Filed 07/20/18 Eiitel’ed 07/20/18 10243:58

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Doblorl Gabrieie Le_h_r ___ case numbar(ri<mwn)
For Debtor1 For Debtor2 or
Copyline4 here__ ____ _ _ ____________-___ ____ _ _ _ ________________ _ 4- $ 0.00 gun mms moude
5. List all payroll deductions:
5a. Tax, Medicare, and Sociai Security deductions 5a $ 0_00 $ N,A
Sb. Mandatory contributions for retirement plans Sb. $ 0,00 $ Ni/.\
5c. Vo|untary contributions for retirement plans 50 $“' 0_0()' $ ` wm
5d. Required repayments of retirement fund loans 5d. $l 0_00 $ NIA
Se. insurance 56_ $ -- _ - -0_-0-0 5 ...___ ._ ._.\_______
5f. Domestic support obligations Sl. $ 000 $ m N[A
59. Union dues 59_ $ 0_00 $ N/A
5h. Other deductions. Speclly: _ . Sh.+ $ 0,00 + $ `M
6. Add the payroll deductionsl Add lines 5a +5b+50+5d+5e+5i+59+5h. $ 0.00 $ NlA
Caiculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 0_00 $ NlA
List ali other income regularly received:
aa. Net income from rental property and from operating a business,
profession, or farm
Atlaol'i a statement lor each property and business showing gross
receipte, ordinary and necessary business axpenses, and the total
monthly net inoome. Ba. $ 4,350.00_ $ NIA
Bb. interest and dividends Bb $ 0_00 $ N/A
Bc. Family support payments that you, a non-filing spouse, or a dependent *~4' ' m _ _
regularly receive
include alimonyl spousal supportl child support, malntenance, divorce
settlement, and property settlement 8<:. $ 0.00 $ _ NIA
Bd. Unemployment compensation Bdt $ m n n 'D.'O'O' $ _ ~ i\iTA_
ee. social security Be. $" 0.00 $ NiA
81. Dther government assistance that you regularly receive n " d mo " _ _
include cash assistance and the value (li knownl of any non»cesh assistance
that you recoive. such as food stamps [berients under the Supple mental
Ni.itrillon Assistance Program} or housing subsidies
Spec|fy: 51 $ 0.00 $ NlA
89. Pension or retirement income BQ. $ _ __Q._(i(i $ N/A-
Bh, Other monthly income. Specify: _ ______ _ _ ___ __ ___ ___ __ __ Bh.+ $ 0.0(_)__ + $ __ N/A-
_ ___ _ |__i__
9. Add all other income. Add lines Ba+Bb+Bc+Sd+Be+Bi+Bg+Sh. 9. [;____ ___ _4|;',5[_)__(1(}_] |` $ _ _ _ _ _ __[jli,_t_\_§
~ r: __i-: l
10. Caiculate monthly lncome. Add line 7 + line 9. 10. $_ 4,350.00 + $ __ NlA " $ 41,35__£_)_._£1§
Add the entries in line 10 for Debtori and Debtor2 or non-tiling spouse ____ __ __ l _ __ _
11. State all other regular contributions to the expenses that you list in Schedule J.
include conlributlons from an unmarried partnerl members o|'your householdl your dependentsl your roommates, and
other friends or relatives
Do not include any amounts already included ln lines 2-10 or amounts that are not available lo pay expenses listed in Schedule J.
Speciiy: v 11~ +$ _ __,0_‘00
12. Add the amount in the last column oi line 10 to the amount in line 11. The result is the combined monthly lncome. 1a
Write that amount on the Summary of Schedulos and Statisrioal Summary of Cariain Llabiiiti`es and Related Da!a, if it i
applies 12 5 __ ¢_d,3_5tl.ill_l'il
Con'ibincd
monthly income
13. Do you expect an increase or decrease within the year after you file this form?

5 N°~ _ __ __ ____ _ ___ .
l YES EXP|B"‘? Subsequent to fillng, chtor was hired as a bookkeeper for All Tcrraln - 4‘| Willow Road. Wator Mi|l.
NY 11976, for approximately $1000 per week in 1099 income as such. her income rose to $4350.00

_imoi'-_fh_-__ ___ ____ ._ __ ____ ____ _J_

 

 

 

()ii`ici;il Form iO(ii Sclieiiulc l: Your income page 1

 

CaS€ 8-18-72817-&8'[ DOC 15 Filed 07/20/18 Entei’ed 07/20/18 10243:58

Fill in this information to identify your case:

 

 

 

 

DebiOr 1 Gabrieie Lehr

Fi¢at'i`-i'n iui" Miriiiia nint utu Name
Debtor 2
(Spouse l nl|ng) Firnt Name _ ' Mlddie Name Last Name

Unlted States Bankruptcy Court tor the: EASTERN DlSTRlCT OF NEW YORK

 

Case number
id known)

 

l:i Check lithis is an
amended filing

Offlcial Form 107
Statement of Financial Affairs for individuals Filing for Bankruptcy 4/16

 

i%e as complete and accurate as possible. if two married people are filing together, both are equally responsibleer supplying correct
information. it more space is needed, attach a separate sheet to this torm. On the top ot any additional pages, write your name and case
number (if known). Answer every question.

Give _o_gtaiis__i\_b_qut Your Maritai status and Where you Lived eetore

 

1. What is your current marital status?

l:i Marrled
- Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

l No

l:i Yes. Llst all oithe places you lived in the last 3 years. Do not include where you live now.

Debtor 1 Prior Address: Dates Debtor1 Debtor 2 Prior Address: Dates Debtor 2
lived there lived there

3. Withln the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or lerritory? (Community property
states and territories include Arlzona, Californla, idahol Louisianal Neveda, New Mexico, Puerto Rlcol Te)<as, Washington and V\Asconsin.)

- No
l:l Yes. Make sure you fill out Schedule H,' Your Codebtors (Otticial Form 106H).

m Explain the Sources ot Your income

4. Did you have any income from employment or trom operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received irom all jobs and all t)ue'ii'iresst:tel including part-time activities
liyou are llilng a ]o|nt case and you have income that you receive together. list il only once under Debtor 1.

i:i No
l Yes i-'iii in the details
Debtor 1 Debtor 2
Sources ot income Gross income Sources of income Gross income
Check all that apply (betore deductions and Check all that apply. (betore deductions
exciuslons) and exciusions)
From January1 ot current year until - Wages commissions $6,000.00 ij Wages, commissionsl

the date you filed ior bankruptcy: bonuses ups bonuses tips

l:i Operating a business n Ope'ati"g a business

Statement ot Flnanclai Aftairs for individuals Filing for Bankruptcy page 1

E:cs; C:i.<,n B.ar,kiuplcy

OiiiciEiFnrm107
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Case 8-18-72817-ast

Debtor 1 Gabrieie Lehr

DOC 15

Debtor 1

Sources of income
Check all that apply.

Filed 07/20/18 Entered 07/20/18 10243:58

Gross income
(before deductions and
exclusions)

Case number (¢'/known)

Debtor 2

Sources of income
Check all that apply.

Gross income
(before deductions
and exclusions)

 

For last calendar year: l W $B 000 00 l:] '
ages, commissions, , - Wages. commissions
(January 1 to December 31, 2017 ) bonuses` tips bonuses tips
[] Operaung a buslness l:l Operating a business
For the calendar year before that: . Wage$l commissionsl $7,000.00 l:| Wages, commissionsl

(January 1 to December 31, 2018 )

bonuses, tips

U Operating a business

bonuses, tips

i:l Operating a business

 

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless ofwhether that income is taxable Examples of other income are allmony; child support; Social Securltyl unemploymentl
and other public benefit payments; pensions; rental lncome; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
winnings. ll you are filing a joint case and you have income that you received together, list it only once under Debtor l_

Llst each source and the gross income from each source separately Do not include income that you listed ln line 4.
. No

El Yes. Fm in the details

Debtor 2

Sources of income
Describe below.

Debtor 1
Sources of income
Descrilae below.

Gross income
(before deductions
and exclusions)

Gross income from
each source

(before deductions and
exclusions)

m List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor1's or Debtor 2’s debts primarily consumer debts?
[l No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are denned in 11 U.S C_ § 101(8) as "incurred by an
individual primarily for a persona|, familyl or household purpose."

During the 90 days before you tiled for bankruptcy, did you pay any creditor a total of $6,425' or more?
|'-`| No. Go to line 7.

m Yes Llst below each creditor to whom you paid a total of $6,425' or more ln one or more payments and the total amount you
paid that creditor. Do not include payments l'or domestic support obligations such as child support and alimony. A|so, do
not include payments to an attorney lor this bankruptcy case

* Sub|ect to adjustment on 4/01/19 and every 3 years after that for cases liled on or alter the date of adjustmenl.

l \(es. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed l'or bankruptcyl did you pay any creditor a total ot $600 or more?

- No.
m Yes

Go to line 7.

Llst below each creditor to whom you paid a total of$600 or more and the total amount you paid that creditor Do not
include payments for domestic support obligations, such as child support and alimony A|sc, do not include payments to an
attorney for this bankruptcy case.

Tolal amount Was this payment for

paid

Amount you
still owe

Creditor‘s Name and Address Dates of payment

Olfic‘ra| Form 107 Statement ol Financ|al Aftalrs for individuals Filing for Bankruptcy page 2

So*tvrarc Ccpynghl (c\ 1996-2015 Bcst Case, lLLC - w)wv bestcasc com Besi Case Duri»!vptcy

CaS€ 8-18-72817-&8'[ DOC 15 Filed 07/20/18 Eiitei’ed 07/20/18 10243:58

Debtor 1 Gabrie|e Lehr Case number (irr<nown)

Within 1 year before you filed for bankruptcy, did you make a payment on a debt »you owed anyone who was an insider?

insiders include your relattves‘, any general partners; relatives of any general partners; partnerships of which you are a general pa`rtner; corporations
of\r\ri‘iich .you are an orlicer, director. person in'oo_ntrol, or owner ot 20% or more oftheir voting securities; and any managing agent, including one for
a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments mr domestic support obligations, such as child support and

alimony.
- No
|:l Yes. Llst all payments to an insiderl
lnsider‘s Name and Address Dates of payment Totai amount Amount you Reason for this payment
paid still owe

8, Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that henelited an
insider?

include payments on debts guaranteed or cosigned by an insider.

l No

U Yes. Llst ali payments to an insider

lnsider's Name and Address Dates of payment Totai amount Amount you Reason for this payment
paid still owe include creditors name

millevtiflil_-.egal.E_fi_er!§l_$st?e§ss_aalp_riSl_erl'i_F_ere€i°SL'f'-‘S _

9 Within 1 year before you filed for benkruptcy, were you a party in any |awsuit. court action, or administrative proceeding?
Llst all such matters, including personal injury cases, small claims actions, divorces, collection suits paternity actionsl support or custody
moditicatlons, and contract disputes

ij No
l Yes. Fill in the details

Case title Nature of the case Court or agency Status of the case

Case number

Bank of America, N.A. v. Lehr Foreclosure Suffolk County Supreme l:l Pend|ng

601795[2015 Court n On appeal
One Court Street l Concwded

Riverhead, NY11901

 

 

10. Within 1 year before you Eled for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or ievied?
Check all that apply and fill in the details below.

l No. Go to line 11.
ij Yes. Fill in the information below.
Credltor Name and Address Descn`be the Property Date Value of the
property
Explain what happened

11 Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

- No
Ei Yes. Fiil in the details
Creditor Name and Address Describe the action the creditor took Date action was Amount

taken

12_ Within 1 year before you filed for bankruptcy. was any of your property in the possession of an assignee for the benefit of creditors, a
court-appointed receiver, a custodian, or another ofticial?

l No
n Yes

Oft'icial Form 107 Statement of Financlal At'falrs for individuals Filing for Bankruptcy page 3

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Debtor 1 Gabrie|e |___e|l|_-__ _”_L_ __ _ Case number i.i know/n

mgt certain Giits and contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
l No

Et Yes. Fiii in the detaiis ror each giit.

Gifts with a total value of more than $600 Describe the gifts Dates you gave Va|ue
per- person

the gifts

Person to Whom You Gave the Gitt and
Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

.No

i:| Yes. Fill |n the details for each gift or contributionl

G|i‘ts or contributions to charities that total Describe what you contributed

g Dates you Va|ue
more than $000 contributed
Charity’s Name
Address iNumb_er, street city. state and zip coue)

fm List Certain Losse_s___ _ _ _

 

15, Within 1 year before you died for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
or gambling?

. No

ij Yes. Fiii in the details

Describe the property you lost and Descrlbe any insurance coverage for the loss Date of your Value of property
h°"*' the '°55 °“°“"°d include the amount that insurance has paid. List pending '°SS '°$‘

insurance claims on line 33 of Schedule A/B.' Property.

Llst Certain Payments or Transfers

 

16. Within 1 year before you filed for bankmptcy, did you or anyone else acting on your behalf pay or transfer any properly to anyone you
consulted about seeking bankruptcy or preparing a bankruptcy petition?

include any attorneys bankruptcy petition preparersl or credit counseling agencies for services required in your ba nkruptcy.

m No
l Yes. Fiii in the uecaiie.

Person Who Was Pald Description and value of any property Date payment Amount of

Address transferred or transfer was payment
Ematl o'r website address made

Person Who Mado the Payment, lt Not You
Friedman Law Associates, PC Attorney Fees 4/3/18
300 Wheeler Road

Suite 101

Hauppauge, NY11788

friedman@friedmaniawpc.com

Wiliiam Fowkes - EmpioyerlFriend

$2,235.00

17_ Within 'i year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

l No
i:i Yes. Fill in the details
Person Who Was Paid Description and value of any property Date payment Amount of
Address transferred or transfer was payment
made
Oificial Form 107 Statement of Financia| Affairs for individuals Filing for Bankruptcy page 4

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Debtor 1 Gabrieie Lehr Case number mma/ii

lB. Within 2 years before you filed for bankruptcy, did you seli, trade, or othenivise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?

include b_oth outright transfers and transfers made as security (s'uoh as the granting of a security interest or mortgage on your property). Do not
include giRs and transfers that you have already listed on this statement

. No
iJ ves. Fiii in the detaiis.

Person Who Received Transfer Description and value of

Describe any property or Date transfer was
Address property transferred payments received or debts made
_ paid in exchange
Person's relationship to you
19. \Mthin ‘_l0 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
beneficiary? (These are often called asset-protectlon devices.)
. No
D Yes. Flll in the details
Name oftrust Description and value of the property transferred Date Transfer was
made

List of Certain Financia| Accounts. instn.iments, Safe Deposft Boxes, and Storage Unlts

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benem. closed,

soid, moved, or transferred?

include checking. savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions. brokerage
houses. pension funds, cooperatives. associations, and other financial institutions.

- No
Ei Yes.i=iiiinmedetaiis.

Name o`f Finan'cial institution and Last 4 digits of Type of account or Date account was Last balance

Address (Numher. streec», cny, stare and ziFl account number instrument ciosecl, soid, before closing or

Codei moved, or transfer
transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
cash, or other valuables?

l No
l:l Yes. Fill in the detai|s.
Name of Financlai institution Who else had access to it? Describe the contents Do you still
Address iNuinbor.- screen ciiy, stare ana ziP cedar Address (Number. street ci¢y, have lt?
sma ana zip cedar
22 Have you stored property in a storage unit or place other than your horne within 1 year before you filed for bankruptcy?
l No
l:l Yes. Fill in the detai|s.
Name of $torage Facility Who else has or had access Describe the contents Do you still
Address (Numner, s`n-am. ciiy. sum ana ziP coda) to it? have it?
Address (Numi>nr, stmei. ciry,
Stata and Z|P Code]

identiLi/_Pr°i>erty YO“ H_O_ld O..r_Cs>n_f_r<>l for S_eiiieon_e El_s§_

23 Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for, or hold in trust
for someone.

- No

Ei Yes. Fiii in the detaiis.

Owner's Name Where is the property? Describe the property Va|ue
Add ress (Number, street ciry, stare and ziP cudei g;';me)b°h Stree'- C'W- Stale and Z'F‘

Part 1|1: Give Details About Environmenla_| information

For the purpose of Part 1D, the following definitions app|y:

l Envlronmenta/ law means any federal, state, or local statute or regulation concerning poilution, contamination, reieases of hazardous or
Oii'iciai Form 107 Statement of F|naric|a| Affalrs for individuals Filing for Bankruptcy ' page 5

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Debfol’ 1 _G_§p_l_l§e Lehr _ _ Case number (l/iwown)

toxic substances, wastes, or material into the air, land, soill surface waterl groundwater. or other medium, including statutes or
regulations controlling the cleanup of these substances, wastes, or material.

' Sit‘e means any iocation, facilityl or property as defined under any environmental iaw, whether you now own, operate, or utilize lt or used
to own, operate, or utilize it, including disposal sites.

l Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
hazardous materiai, pollutant contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

- No

El Yes. Fill in the cietails.

Name of site Governmental unit Envlronmental law, if you Date of notice
Address (Numtrer. street city, slataand zlP carter Address (Numl>er, street city, state ana know it

zli= cotter

26. Have you notified any governmental unit of any release of hazardous material?

l No

ill Yes. Fill in the details

Name of site Govemmenta| unit Envlronmental iaw. if you Date of notice
Address inuml>er. street cily, sma-ana zlP cedar Address ¢Numb»r. stmel. city, stare ana know lt

ZiP Cods)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? include settlements and orders.

l No

ill Yes. Fill in the detaiis.

Case `i“ltle Court or agency Nature of the case Status of the
Case Number Name case

Address iuumaar, strong cityl
Stnte and 7.|P code)

m Give Detai|s About Your Business or Connections to Any Buslness _

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

ij A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
i:i A member of a limited liability company (LLC) or limited liability partnership (LLP)
ij A partner in a partnership
i:i An officer, director, or managing executive of a corporation
l:i An owner of at least 6% of the voting or equity securities of a corporation

l No. None of the above applies. Go to Part 12.

i:l Yes. Check all that apply above and fill in the details below for each business.

Business Name Describe the nature of the business Emp|oyer identification number
Address Do not include Social Security number or lT|N.
lNumb~r. Streel. Cify. State and ZIP Gode) Name of accountant or bookkeeper

Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include all financial
institutions creditorsl or other parties.

l No
[J Yes. Fill in the details below.

Name Date issued

Address
(Number. Straet, Clty, State and ZlP Coda)

Parl12: _S_i`g_nB_elow ______ __ __ _ _____ __ _ ______ ___________

i have read the answers on this Statement of Flnancial Affairs and any attachments, and l declare under penalty of perjury that the answers
Olf`lclal Form 107 Statement of Flnanclal Affalrs for individuals Filing for Bankruptcy page 5

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D€bfof 1 Gabrieie Lehr

Case number (rkwwn) _

are true and .correct.l understand that making a false statementl concealing property. or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $260,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3671.
lsl Gabrieie Lehr

Gabrieie Lehr _ Slgnature of Debtor 2
.Signature of Debtor 1

 

Date .luiy 2, 2018 bare

Did you attach additional pages to Your Statement of Financlal Affalrs for Ind/`vlcluais Filing for Bankruptcy (Oillciai Form 107)?
- No
[] Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
l No

U Yes. Name of Person .Attach the Bankruptcy Petition Preparer‘s Noticel Deciaration, and Signature (O`ilicial Form 119).

Oliiolai Form 107 Statement ot Flnancial Al‘ialrs for individuals Filing for Bankruptcy

page 7
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Beat Case Eiankruplr:y'

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Fill in this information to identify your case:

Check one box only as directed in this form and in Form
122A-1Supp:

     
   

Deb*°' 1 __Ga_b_"§l§_|_-§_h_f_. ___

Debtor 2
(Spouse. if li|ng)

     
         

l 1. There is no presumption ofabuse

 

U 2. The calculation to determine ll a presumption of abuse
applies will be made under Chapter 7 Means Tost
Caiculation (Ofiiclal Form 122A-2).

United States Ba nkruptcy Court for the: Eaetern District of New York

 

Case number
iii knownl `

 

L__l 3_ The Means Test does not apply now because of
_ __55_'§."_”_€F_'___m"_l=afr_$_€_r_r_lf_>s_b_ui !CQU'd_=rPPir trier

El Check ifthis is an amended filing

Officia| Form 122A - 1
Chapter 7 Statement of Your Current Monthly income 12115

 

 

BE as complete end accurate as r.'l¢:i:ta|t.\lcv ll' two married people ore filing together{ both ore equally responsible for being accurate. li more space l& neet|eci,
attach a separate sheet to thin forrn. include the line humberto which tire additional information applies Gn the top of any additional pages write your name and
case number iii known). ll you believe that you are exempted horn a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service. complete and file Statementof Exemprion from Prosl.lmptlon ofAl:lusc Undnr§ iti?fh)(?,l [Dl’flclai Form t?_’ZA-1Suppi with this torm.

Caiculate Your Current Monthly income
1_ What is your marital and filing status? Check one only.

l Not married. Fill out Co|umn A, lines 2~11.
ij lVlarried and your spouse is filing with you. Fill out both Co|umns A and B, lines 2-11.
m Marri'ed and your spouse is NOT filing with you. You and your spouse are:
ij Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

ij Living separately or are legally separated. Fill out Co|umn A, lines 2-11; do not fill out Co|umn B_ By checking this box, you declare under
enaliy of per|ury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
lying apart for reasons that do not include evading the Means Test requirementsl 11 U_S.C § ?D'i{b)(?)[B).

Fill tn lhe average monthly income that you received from all sourcesl derived during the B full months before you file this bankruptcy case. 11 LJ.S_C §
101(1{\¢\), For amample, ii you are li|ing on Sepiombor 15, lhc 61moruh period would bc March 1 through Augusl 31. litho amount of your monlhiy income varied during
the ii monihs, add tha income for all 6 month ancl divide the total by 6_ Fill in |l‘la rasuil_ t]o not include any income arnounl mcmillan onw. _For aa)<arn|'ril_‘1 ii both
spouses own |ho same rental propnity_ put the income from lhal properly in one column oniy. li you have nothing to report fm any llne. write $0 in lite apaw.

column A callimn§ __
Debtor.1 Debtor 2 or
nan-filing spouse

 

2. Your gross wages. salary, tips, bonuses, overtime, and commissions (beiore ali $

 

 

 

 

payroll deductions). _0-90__ 5 __ _ _ _ _ __
3, Alimony and maintenance payments. Do not include payments from a spouse ii 0 00
column a is filled ln_ $ __ ___ ___._:._ . $ ______
4_ All amounts frorn any source which are regularly paid for household expenses
of you or your dependents, including child support. include regular contributions
from an unmarried panner, members ofyour householdl your dependents parents
and roommates_ include regular contributions from a spouse only if Column B is not 0 00
Hlled in. Do not include payments you listed on line 3. __ -_ _ $
5. Net income from operating a business, profession, or farm
Debtor 1
Gross receipts (before all deductions) 5 __ _ ______ __4_-§5_0-00
Ordlnary and necessary operating expenses '$ __ _ 0-00
~ _ Copy
Net monthly income from a business
profession or farm 5 ___. _ _4'359_'0£ here `> $ ___‘1£3_5_9’0_0_ $ .. ______ ;
6_ Net income from rental and other real property _-
Debtor 1 '
Gross receipts (before all deductions) 3 _(_)_09_
; Ordinary and necessary operating expenses `$ __020_
l Net monthly income from rental or other real property $ O~OO Copy here -> $ 0.00 :_ _ _ ______
j 7_ lnterest. dividends, and royalties $ _ 0'00 ___ _____ _______
Oiflciai Form 122A-1 Chapter 7 Statement oi Your Current Monthly income page '1

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income
mtem'iine Whether the Means Test Appiies to ¥ou

12.

13.

14.

 

 

 

 

Debbl>ii Gabrieie Lehr __ Caao number (i'flmown)
Coiumn A Colun‘m B
Debtor 1 Debtor 2 or
non-ming spouse
8. Unemp|oyment compensation $ 0_00 $
Do not enter the amount ll you contend that the amount received was a benefit under n n n _
the Sooial Security Act. instead, list it here:
FOr you _ _____ __ _ _ _ __S 0.00
FOF YOUF SPOUS€_______ _________ ,__,___ ____$
9_ Pension or retirement income. Do not include any amount received that was a
g benem under me social security Au. _ 9-00 $
i 10. income from all other sources not listed above. Speciiy the source and amount. _
_,I Do not include any benefits received under the Sooial Security Act or payments
received as a victim of a war crime, a crime against humanityl or international or
domestic terrorism_ ll necessary, list other sources on a separate page and put the
total beiow.
$ 0.0_0 $
_ ______ ____ __________ _____ $ ___ __ _.D_-Q_O_ $ ___
Totai amounts from separate pages, lfany. + $ 0.00 $
11. Caiculate your total current monthly income. Add lines 2 through 10 for ___!
each column. Then add the total for Co|umn A to the total for Co|umn B. 3 4'350-00 5 __ _ _ _ 5 w

 

i'omc_u'r'i'erit m nntht`y `

Caiculate your current monthly income for the year. Fol|ow these steps:

l

.___1

12a. Copy your total current monthly income from line 11____ ____ Copy line 11 here=> 3 4,350.00
Nlultipiy by 12 (the number of months in a year) _ x 12

12b. The result is your annual income for this part oithe form 1211 5 ___5_2,__290.00 f

 

 

Caiculate the median family income that applies to you. Follow these sieps:

Fl|l in the state in which you live_ l NY 1

Fill in the number oipeople in your householdl [__ __ _1 _ l

Fill in the median family income for your state and size ofhousehoid. _____________ _______ 13_
To tind a list of applicable median income amounts, go online using the link specified in the separate instructions
for this form. This list may also be available at the bankruptcy clerk's oifice.

$ 53,132.00 4

 

How do the lines compare?

14a_ l Llne 12b ls less than or equal to line 13. On the top otpage 1, check box 1, The/o is no presumption of abuse

Go to Part 3.
14b. Ei Line 12b is more than line 13. On the top of page 1, check box 2, The presumption ofabuse is dererm/ned by Form 122/i~2.

Go to Part 3 and fill out Form 122A-2.

Sign Beiow
Fty signing here. l declare under penalty oiperjury iba-l'i_i§i_nioimotion on misstatement anU-any atte_onn'ierits isirue and correct

 

X _Isl_Ga_brle|e Lehr _ _ _ ______
Gabrieie Lehr
S|gnature of Debtor1
Date Jtily__?i _ZQF_B__
i\/lM/DD /YYYY
liyou checked line 14a, do NOT litl out or tile Form 122A-2

 

lfyou checked line 14b,tiiioutForm122A-2 and his it with this form

Oiiicial Form 122A-1 Chapter 7 Statement of Your Current Monthly income page 2

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